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                     IN THE UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF ARKANSAS
                              WESTERN DIVISION

UNITED STATES OF AMERICA                   )
                                           )
VS.                                        )   CASE NO. 4:06CR00211-02 JLH
                                           )
ROBERT J. COLEE                            )

                                          ORDER

       The Court has received proposed findings and recommendations from United States

Magistrate Judge Henry L. Jones, Jr. There have been no objections. After careful review,

the Court concludes that the findings and recommendations should be, and are hereby,

approved and adopted as this Court’s findings in all respects in their entirety.

       Defendant’s “Motion to Challenge the Venue Jurisdiction in the Subject Indictment”

(DE #41), is hereby denied.

       SO ORDERED this 8th day of September, 2008.




                                                  UNITED STATES DISTRICT JUDGE
